               Case 2:21-cv-08242-JAK-E Document 27 Filed 12/07/21 Page 1 of 4 Page ID #:114
Name and address:
                Michael Jay, CA SBN 223827
                    DLA Piper LLP (US)
                  2000 Avenue of the Stars
                   Suite 400 North Tower
                Los Angeles, CA 90067-4704

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
WAG ACQUISITION, L.L.C., a New Jersey limited liability
                                                                         CASE NUMBER
company,
                                                 Plaintiff(s),                                      2:21-cv-08242

                  v.
HULU LLC, a Delaware limited liability                                      APPLICATION OF NON-RESIDENT ATTORNEY
company,                                                                          TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                      PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Williams, John
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney
DLA Piper LLP (US)
Firm/Agency Name
303 Colorado Street, Suite 3000                                       (512) 457-7000                         (512) 457-7001
                                                                      Telephone Number                       Fax Number
Street Address
Austin, Texas 78701-4653                                                                 john.williams@us.dlapiper.com
City, State, Zip Code                                                                             E-mail Address

I have been retained to represent the following parties:
HULU LLC                                                                  Plaintiff(s)    Defendant(s)      Other:
                                                                          Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                        Date of Admission           Active Member in Good Standing? (if not, please explain)
Texas State Bar                                         October 25, 2019          Yes




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 1 of 3
Case 2:21-cv-08242-JAK-E Document 27 Filed 12/07/21 Page 2 of 4 Page ID #:115
               Case 2:21-cv-08242-JAK-E Document 27 Filed 12/07/21 Page 3 of 4 Page ID #:116

SECTION III - DESIGNATION OF LOCAL COUNSEL
Michael Jay
Designee's Name (Last Name, First Name & Middle Initial)
DLA Piper LLP (US)
Firm/Agency Name
2000 Avenue of the Stars                                          (310) 595-3000                           (310) 595-3300
Suite 400 North Tower                                             Telephone Number                         Fax Number
Street Address                                                    Michael.jay@us.dlapiper.com
Los Angeles, CA 90067-4704                                        Email Address
City, State, Zip Code                                             223827
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated December 3, 2021                             Michael Jay
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of 3
Case 2:21-cv-08242-JAK-E Document 27 Filed 12/07/21 Page 4 of 4 Page ID #:117




                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

November 30, 2021



Re: John Conrad Williams, State Bar Number 24115834


To Whom It May Concern:

This is to certify that John Conrad Williams was licensed to practice law in Texas on October 25,
2019, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
